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GATEGUARD, INC,,

Plaintiff, No. 19-CV-2472 (RA)

v. ORDER

MVI SYSTEMS LLC and SAMUEL TAUB,

Defendants.

 

 

RONNIE ABRAMS, United States District Judge:

The Court will have a conference to discuss Defendants’ pending motion to dismiss on
January 9, 2020 at 2:00 p.m. in Courtroom 1506 at the Thurgood Marshall United States
Courthouse, 40 Foley Square, New York, New York 10007.

SO ORDERED.

Dated: January 3, 2020
New York, New York

 

Ronhiebrams

United States District Judge

 
